Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 1 of 46 Page ID #:534
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 2 of 46 Page ID #:535
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 3 of 46 Page ID #:536
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 4 of 46 Page ID #:537
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 5 of 46 Page ID #:538
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 6 of 46 Page ID #:539
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 7 of 46 Page ID #:540
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 8 of 46 Page ID #:541
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 9 of 46 Page ID #:542
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 10 of 46 Page ID
                                   #:543
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 11 of 46 Page ID
                                   #:544
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 12 of 46 Page ID
                                   #:545
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 13 of 46 Page ID
                                   #:546
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 14 of 46 Page ID
                                   #:547
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 15 of 46 Page ID
                                   #:548
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 16 of 46 Page ID
                                   #:549
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 17 of 46 Page ID
                                   #:550
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 18 of 46 Page ID
                                   #:551
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 19 of 46 Page ID
                                   #:552
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 20 of 46 Page ID
                                   #:553
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 21 of 46 Page ID
                                   #:554
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 22 of 46 Page ID
                                   #:555
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 23 of 46 Page ID
                                   #:556
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 24 of 46 Page ID
                                   #:557
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 25 of 46 Page ID
                                   #:558
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 26 of 46 Page ID
                                   #:559
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 27 of 46 Page ID
                                   #:560
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 28 of 46 Page ID
                                   #:561
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 29 of 46 Page ID
                                   #:562
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 30 of 46 Page ID
                                   #:563
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 31 of 46 Page ID
                                   #:564
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 32 of 46 Page ID
                                   #:565
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 33 of 46 Page ID
                                   #:566
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 34 of 46 Page ID
                                   #:567
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 35 of 46 Page ID
                                   #:568
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 36 of 46 Page ID
                                   #:569
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 37 of 46 Page ID
                                   #:570
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 38 of 46 Page ID
                                   #:571
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 39 of 46 Page ID
                                   #:572
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 40 of 46 Page ID
                                   #:573
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 41 of 46 Page ID
                                   #:574
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 42 of 46 Page ID
                                   #:575
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 43 of 46 Page ID
                                   #:576
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 44 of 46 Page ID
                                   #:577
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 45 of 46 Page ID
                                   #:578
Case 8:19-cv-01422-JLS-JDE Document 18-8 Filed 01/17/20 Page 46 of 46 Page ID
                                   #:579
